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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                              )
                                                       )
                                                       )   Case No. 21-cr-00088-DLF
v.                                                     )
                                                       )
RONALD SALNDLIN, ET AL,                                )
                                                       )
       Defendants.                                     )



                           UNOPPOSED MOTION TO CONTINUE

       Defendant, Nathan DeGrave, by and through his counsel, move with co-defendant to

continue the status conference scheduled before this Court on February 16, 2022 with no

opposition from the United States Attorney’s office.

       Counsel for Defendant has conferred with counsel for the defendant and for co-defendant

Ronald Sandlin, and both have indicated they do not oppose the instant motion.

       The parties have agreed to continue the matter until the next status hearing, which is

scheduled for March 9, 2022 before this Court.

Dated: February 15, 2022                    Respectfully Submitted,

                                                    s/
                                            John M. Pierce
                                            John Pierce Law
                                            21550 Oxnard Street
                                            3d Floor, PMB# 172
                                            Woodland Hills, CA 91367
                                            Tel.: (213) 279-7648

                                            Counsel for Nathan DeGrave
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the February 15, 2022 I hereby certify that I electronically filed

the foregoing with the Clerk of the Court for the United States District Court for the District

Columbia by using the CM/ECF system.

                                               ________/s/________________
                                              John M. Pierce
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